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                In the United States District Court
                    for the District of Columbia

Rochelle Garza, as                  §
guardian ad litem to                §
unaccompanied minor J.D.,           §
on behalf of herself and            §
others similarly situated,          §
et. al.,                            §
                                    §
           Plaintiffs,              §       Case No. 17-cv-02122-TSC
                                    §
v.                                  §
                                    §
Eric D. Hargan, et al.,             §
                                    §
           Defendants.              §
                                    §




     BRIEF FOR THE STATES OF TEXAS, ARKANSAS,
 LOUISIANA, MICHIGAN, MISSOURI, NEBRASKA, OHIO,
 OKLAHOMA, SOUTH CAROLINA, WEST VIRGINIA, AND
THE COMMONWEALTH OF KENTUCKY, BY AND THROUGH
  GOVERNOR MATTHEW G. BEVIN, AS AMICI CURIAE
            IN SUPPORT OF DEFENDANTS
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                  Interest of Amici Curiae
    Amici curiae are the States of Texas, Arkansas, Louisiana, Michigan, Mis-

souri, Nebraska, Ohio, Oklahoma, South Carolina, West Virginia, and the

Commonwealth of Kentucky, by and through Governor Matthew G. Bevin.1

The States have an interest in cooperating with the federal government to es-
tablish a consistent and correct understanding of the rights of aliens unlawfully

present in the United States, as the States “bear[] many of the consequences

of unlawful immigration.” Arizona v. United States, 567 U.S. 387, 397 (2012).

The States also have “a legitimate and substantial interest in preserving and

promoting fetal life,” as well as an “interest in promoting respect for human

life at all stages in the pregnancy.” Gonzales v. Carhart, 550 U.S. 124, 145, 163

(2007). Local Rule 7(o)(1) provides that “a state may file an amicus curiae

brief without the consent of the parties or leave of Court.”

    In this case, Plaintiffs seek a temporary restraining order effectively de-
claring that the U.S. Constitution confers on unlawfully-present aliens the

right to an elective abortion that is not medically necessary—even when they

have virtually no ties to this country. Until this litigation, no court had ever

before recognized such broad rights for unlawfully-present aliens with virtu-

ally no connections to the country. If this Court grants Plaintiffs’ request,



    1
      Neither amici nor counsel received any monetary contributions intended
to fund preparing or submitting this brief. No party’s counsel authored this
brief in whole or in part.

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there will be no meaningful limit on the constitutional rights an unlawfully-

present alien can invoke simply by attempting to enter this country illegally.

Such relief would also contradict the Supreme Court’s longstanding prece-

dent that full Fifth Amendment rights accorded to citizens can only be ex-

tended to those aliens who “have come within the territory of the United
States and developed substantial connections with this country.” United States v.

Verdugo-Urquidez, 494 U.S. 259, 271 (1990) (emphasis added).

    Amici thus urge the Court to deny Plaintiffs’ application for a temporary
restraining order.




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                             Introduction
    The Constitution does not confer the right to an elective abortion on un-

lawfully-present aliens with virtually no ties to the country. Under long-settled
doctrine, the constitutional rights an alien may invoke depend on the scope of

the alien’s ties to this country. It is true that all persons—regardless of immi-

gration status, and regardless of their ties here—have certain cabined consti-

tutional rights, including baseline procedural protections and the right to be

free from gross physical abuse. But that does not mean that such unlawfully-

present aliens are accorded the panoply of affirmative liberty rights that citi-

zens and lawfully-present aliens possess.

    The States are already spending enormous resources dealing with unlaw-

ful immigration. Granting the relief Plaintiffs seek will create a perverse incen-
tive to unlawfully enter the country. This will further add to the substantial

burden faced by the governmental entities trying to prevent and deal with un-

lawful immigration.

    The Court should thus deny the application for a temporary restraining

order.




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                                A RGUMENT

I. Unlawfully-Present Aliens with Virtually No Connections to the
   United States Have No Constitutional Right To An Elective
   Abortion.
    The right Plaintiffs assert does not exist: Unlawfully-present aliens with

virtually no connections to the country do not have a constitutional right to an
elective abortion. Plaintiffs thus are not entitled to a temporary restraining or-

der. See Winter v. NRDC, 555 U.S. 7, 20 (2008) (preliminary injunctive relief

unavailable if the plaintiff cannot establish a likelihood of success on the mer-

its); Mazurek v. Armstrong, 520 U.S. 968, 970 (1997) (per curiam) (same).

    A. The Court Should Apply the Supreme Court’s Long-Settled
       “Substantial Connections” Test, Which Provides That the
       Degree of Connections to This Country Determines the De-
       gree of Fifth Amendment Rights Accorded to Aliens.
    The “initial inquiry” in assessing any due process claim is whether the

Constitution protects the right the plaintiff asserts. See, e.g., Meachum v. Fano,

427 U.S. 215, 223-24 (1976). Only after confirming that the right at issue exists

should a court move on to whether the government has violated that right. See

id. This Court should thus begin its analysis by asking whether the right to an

elective abortion recognized by the Supreme Court applies to unlawfully-pre-

sent aliens with virtually no connections to this country who were appre-

hended while attempting to cross the border illegally.




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    The answer to that question is “plainly—and easily—no.” Garza v. Har-

gan, 874 F.3d 735, 743 (D.C. Cir. 2017) (en banc) (per curiam) (Henderson,

J., dissenting).

         1.   The Constitutional Rights of Aliens are Determined by a
              Sliding Scale Based on the Degree of Connections the Alien
              Has to the Country.
    The Fifth Amendment provides that “[n]o person shall be . . . deprived
of life, liberty, or property, without due process of law.” The Supreme Court

has held that unlawfully-present aliens are “persons” protected by the Fifth

Amendment. Plyler v. Doe, 457 U.S. 202, 210 (1982). The Court reiterated in

2001 that “once an alien enters the country, the legal circumstance changes,

for the Due Process Clause applies to all ‘persons’ within the United States,

including aliens, whether their presence here is lawful, unlawful, temporary,
or permanent.” Zadvydas v. Davis, 533 U.S. 678, 693 (2001).2

    But simply because an individual is a “person” covered by the Fifth

Amendment, it does not follow that the alien is necessarily “due” the same
scope of rights accorded to citizens or lawfully-present aliens. The Supreme

Court has held that the rights an alien is “due” depend on the connections

that person has established with this country: United States v. Verdugo-Ur-

quidez, 494 U.S. 259, 270 (1990), applied existing Supreme Court precedent



    2
     Contrary to the statements in the dissent at the panel stage before the
D.C. Circuit, amici did not argue that unlawfully-present aliens are not “per-
sons.”

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and clarified that Plyler’s Fifth Amendment analysis “establish[es] only that

aliens receive constitutional protections when they have come within the ter-

ritory of the United States and developed substantial connections with this coun-

try.” Id. at 271 (emphasis added).

    Verdugo-Urquidez emerged from the Supreme Court’s bedrock rule that
an alien is “accorded a generous and ascending scale of rights as he increases

his identity with our society.” Johnson v. Eisentrager, 339 U.S. 763, 770 (1950)

(emphasis added). In other words, as set out in Eisentrager and explained by
Verdugo-Urquidez, an alien’s connections determine the scope of rights the al-

ien is due. See id. As a person develops increasing connections with this coun-

try, the person’s constitutional protections expand. E.g., Verdugo-Urquidez,

494 U.S. at 268-69; see also Trump v. Int’l Refugee Assistance Project, 137 S. Ct.

2080, 2087 (2017) (per curiam) (staying injunction of immigration order for

aliens “who lack any bona fide relationship with a person or entity in the
United States”). Initial lawful entry affords “safe conduct” and confers “cer-

tain rights,” which “become more extensive and secure when he makes pre-

liminary declaration of intention to become a citizen, and they expand to those

of full citizenship upon naturalization.” Eistentrager, 339 U.S. at 770; see Lan-

don v. Plasencia, 459 U.S. 21, 32 (1982) (alien’s “constitutional status

changes” only after he “gains admission to our country and begins to develop
the ties that go with permanent residence”).

    No decision of the Supreme Court has abrogated that basic Eisen-

trager/Verdugo-Urquidez framework of a sliding scale of rights based on the

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degree of connections the alien has to the country. In particular, Zadvydas did

not alter or undermine Verdugo-Urquidez’s pronouncement that to invoke the

full scope of Fifth Amendment rights, an unlawfully-present alien must

demonstrate “substantial connections.” See, e.g., Ibrahim v. Dep’t of Home-

land Sec., 669 F.3d 983, 997 (9th Cir. 2012) (applying “significant voluntary
connection” test from Verdugo-Urquidez); United States v. Meza-Rodriguez,

798 F.3d 664, 670 (7th Cir. 2015), cert. denied, 136 S. Ct. 1655 (2016) (same).

In fact, Zadvydas expressly limited its analysis to “aliens who were admitted to
the United States but subsequently ordered removed.” 533 U.S. at 682 (em-

phasis added). By contrast, “[a]liens who have not yet gained initial admission

to this country would present a very different question.” Id.

        2. Unlawfully-Present Aliens With Virtually No Connections to
           the Country Lack the Panoply of Affirmative Liberty Rights
           that Citizens and Lawfully-Present Aliens Possess, Although
           They Do Have Baseline Procedural Protections and the Right
           to be Free from Gross Physical Abuse.
    a. The sliding-scale approach set out in Eisentrager and Verdugo-Urquidez

recognizes that it is the rare exception where constitutional rights are accorded

to unlawfully-present aliens with minimal connections to the country. Under

that rare exception, the mere fact of presence in this country—even unlawful

presence—does confer certain baseline constitutional rights against egregious

harm, but not affirmative liberty rights. And even when certain limited consti-

tutional rights are extended to unlawfully-present aliens, courts routinely hold




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that the full scope of a constitutional provision’s rights do not extend to such

aliens.

    For example, mere unlawful presence confers a basic right against “gross

physical abuse” in this country. Castro v. Cabrera, 742 F.3d 595, 600 (5th Cir.

2014) (citing Lynch v. Cannatella, 810 F.2d 1363, 1370 (5th Cir. 1987)). The
Constitution protects everyone on U.S. soil, even unlawfully-present aliens

with no other ties to this country, against the “wanton or malicious infliction

of pain” by governmental officials. Id. The D.C. Circuit’s panel dissent—
which the en banc majority “substantially” adopted, 874 F.3d at 736—argued

that amici’s position would mean that the aliens and “everyone else here with-

out lawful documentation—including everyone under supervision pending

immigration proceedings and all Dreamers—have no constitutional right to

bodily integrity in any form (absent criminal conviction).” But that does not

follow from amici’s position, and the Supreme Court’s precedents do not lead
to that drastic outcome. The “deeply troubling” hypotheticals the panel dis-

sent posited are thus fully resolved by a proper application of the Eisen-

trager/Verdugo-Urquidez framework.

    Under the “ascending scale” of rights articulated in Eisentrager (339 U.S.

at 770), reinforced in Landon (459 U.S. at 32), restated in Verdugo-Urquidez

(494 U.S. at 268-69)—and applied in Lynch (810 F.2d at 1370) and Castro (742
F. 3d at 600)—all persons on U.S. soil are constitutionally protected against

“gross physical abuse.” Castro, 742 F.3d at 600. However, even though the

Constitution confers basic protection against gross physical abuse, full Fourth

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Amendment rights accorded to citizens do not apply to unlawfully-present al-

iens with only minimal connections to the country. See, e.g., Castro, 742 F.3d

at 599-600 (Fourth Amendment does not extend to unlawfully-present aliens

who remain in the United States illegally, unless they are raising claims of

“gross physical abuse”); United States v. Vilches-Navarrete, 523 F.3d 1, 13 (1st
Cir. 2008) (criminal defendant lacked “substantial connection” with U.S.

necessary to invoke Fourth Amendment protection under Verdugo-Urquidez).

    In addition to the gross-physical-abuse prohibition, the mere fact of pres-
ence in this country—even unlawful presence—also confers a certain set of

basic procedural guarantees before the federal government can deport the in-

dividual. See, e.g., Demore v. Kim, 538 U.S. 510, 523 (2003) (it is “well estab-

lished” that aliens have due-process rights in deportation hearings). But even

then, the full scope of procedural due process rights guaranteed to citizens

does not extend to unlawfully-present aliens. See, e.g., id. at 521 (“‘In the ex-
ercise of its broad power over naturalization and immigration, Congress regu-

larly makes rules that would be unacceptable if applied to citizens.’” (quoting

Mathews v. Diaz, 426 U.S. 67, 79-80 (1976))); accord, e.g., Zadvydas, 533 U.S.

at 718 (Kennedy, J., dissenting) (“The liberty rights of the aliens before us

here are subject to limitations and conditions not applicable to citizens, how-

ever.” (citing Mathews, 426 U.S. at 79-80)).
    In sum, the fact that basic procedural safeguards and protections against

“gross physical abuse” are afforded to everyone on U.S. soil does not mean

that the full panoply of constitutional rights accorded to citizens extends to

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each unlawfully-present alien with only minimal connections to the country.

See Verdugo-Urquidez, 494 U.S. at 268-69.

    b. Furthermore, courts routinely hold that unlawfully-present aliens with

minimal connections to the country lack affirmative liberty rights. For exam-

ple, numerous courts have held that unlawfully-present aliens with minimal
connections to the country do not have the Second Amendment “fundamen-

tal right” (McDonald v. City of Chicago, 561 U.S. 742, 778 (2010)) to keep and

bear arms. United States v. Portillo–Munoz, 643 F.3d 437, 442 (5th Cir. 2011)
as revised (June 29, 2011); United States v. Carpio–Leon, 701 F.3d 974, 979 (4th

Cir. 2012); United States v. Flores, 663 F.3d 1022, 1023 (8th Cir. 2011) (per

curiam); cf. Meza-Rodriguez, 798 F.3d at 669-672 (unlawfully-present alien had

Second Amendment rights only because he arrived in the U.S. at a young age

and lived here for 20 years).

    And full First Amendment rights do not extend to unlawfully-present al-
iens without substantial connections to the country. See, e.g., Citizens United

v. FEC, 558 U.S. 310, 362 (2010) (noting federal statute, now codified at 52

U.S.C. §30121, prohibiting “foreign national[s]” from making direct contri-

butions or independent expenditures for political speech); Kleindienst v. Man-

del, 408 U.S. 753, 769-70 (1972) (alien may be returned to home country for

engaging in disfavored political speech in this country); Galvan v. Press, 347
U.S. 522, 531 (1954) (government may restrict alien’s freedom of association).

    The Department of Justice has explicitly advanced this view in previous

litigation. See Federal Defendants’ Memorandum in Opposition to Plaintiffs’

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Motion for TRO at 13, Pineda-Cruz v. Thompson, No. 5:15-cv-00326 (W.D.

Tex. May 7, 2015) (Dkt. 22) (“Because Plaintiffs never gained entry into the

United States and have not developed substantial connections with this coun-

try, they are not within the scope of individuals contemplated by the Supreme

Court as being able to raise claims under the First Amendment.”). In fact, the
federal government has, on dozens of occasions, argued that unlawfully-pre-

sent aliens lack the full scope of constitutional rights afforded to citizens. See,

e.g., infra Part II.B.2.
    These principles establishing that unlawfully-present aliens lack affirma-

tive liberty rights held by citizens comport with the Supreme Court’s declara-

tion that aliens subject to deportation may be detained as their deportation is

processed. See, e.g., Kim, 538 U.S. at 523 (“At the same time, however, the

Supreme Court has recognized detention during deportation proceedings as a

constitutionally valid aspect of the deportation process.”). With physical de-
tention necessarily comes a restriction of liberties.

    c. The affirmative substantive due process right recognized by the Su-

preme Court to seek the medical procedure of an elective abortion is much

more analogous to the affirmative liberty rights courts have repeatedly held

are not accorded to unlawfully-present aliens who lack substantial connections

to the country. In contrast, baseline procedural safeguards and the basic pro-
tection against gross physical abuse are negative prohibitions on drastic gov-

ernment conduct (detention and removal without any process, and gross phys-

ical abuse).

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    Plaintiffs have never offered any authority to the contrary. At an earlier

stage of this litigation, Plaintiffs argued that an alien’s immigration status has

no impact at all on the constitutional rights she may assert. That is wrong, as

the authorities above confirm. Moreover, the authorities on which Plaintiffs

rely do not establish the right to an elective abortion under the circumstances
this case presents.

    Plaintiffs rely on various abortion cases involving citizens, including

Planned Parenthood of Se. Pa. v. Casey, 505 U.S. 833, 871 (1992) (plurality op.),
for the proposition that the “government may not place a ‘substantial obsta-

cle’ in the path of women seeking abortion.” Plaintiffs’ Memorandum in Sup-

port of Their Application for a Temporary Restraining Order (Dkt. 63-1) at 5

(citing Casey, 505 U.S. at 871 (plurality op.); Whole Woman’s Health v. Heller-

stedt, 136 S. Ct. 2292 (2016). But not one of Plaintiffs’ cited cases says or im-

plies that the substantive due process right to abortion recognized by the Su-
preme Court extends to unlawfully-present aliens—especially not those who

have no ties to this country.

    Previously in this litigation, Plaintiffs further offered a string citation of

cases, but none of those cases support the proposition that unlawfully-present

aliens have the right to an elective abortion. R.I.L-R v. Johnson, 80 F. Supp. 3d

164, 187 (D.D.C. 2015), for example, concerned whether the government
could continue to detain asylum applicants after those individuals had demon-

strated a credible fear of persecution. Each of the applicants had family mem-

bers in the United States who had agreed to provide shelter and support for

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the asylum-seekers. On those facts, and in light of the plaintiffs’ threshold

showing of asylum eligibility, this Court held that they could invoke the pro-

tection of the Due Process Clause. Here, the operative complaint says nothing

about asylum, alleges substantial no connection to the U.S. at all, and offers

no basis to believe that the aliens are on track to permanent residence.
    The other authorities Plaintiffs have previously offered fare no better.

Plaintiffs claimed the alleged abortion right was derived from Plyler, 457 U.S.

at 210. But as explained above, the Supreme Court explicitly clarified and sup-
planted Plyler in Verdugo-Urquidez, 494 U.S. at 270-71. So too with Mathews,

426 U.S. at 77, which concerned resident aliens who were lawfully admitted

to the United States; plus, Mathews too was clarified and supplanted by Ver-

dugo-Urquidez. And Kwai Fun Wong v. United States, 373 F.3d 952, 971 (9th

Cir. 2004), concerned an alien who had been lawfully present in the U.S. for

almost two decades—in other words, someone who had established “substan-
tial connections” under Verdugo-Urquidez.

    In short, at no stage in this litigation have Plaintiffs ever presented any

authority that supports the extraordinary constitutional holding they ask this

Court to make.

    B. The Operative Complaint Confirms that the Aliens At Issue
       Here Have No “Substantial Connections” to This Country,
       and Therefore Have No Right to an Elective Abortion.
    The operative complaint (Dkt. 61-1) describes Plaintiff Roe at paragraphs

21-25 and Plaintiff Poe at paragraphs 26-29. Not a single allegation in any of


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those paragraphs—or anywhere else in the operative complaint—establishes

any substantial connections between Roe, Poe, and the United States. In fact,

those paragraphs confirm that Roe and Poe have no substantial connections to

the country at all, since they admit that they were detained upon arrival. See

Dkt. 61-1 ¶¶ 21, 26. The operative complaint further admits that Plaintiffs Roe
and Poe “have no legal immigration status,” and thus are in this country un-

lawfully. Id. ¶ 33.

    Plaintiff Roe’s declaration in support of her application for a temporary
restraining order further confirms that she has no substantial connections to

this country. See Dkt. 63-2. She admits that she was “detained upon arrival.”

Id. ¶ 4.

    Those undisputed facts resolve this case. Under Verdugo-Urquidez, the

Plaintiffs must show “substantial connections” to assert full Fifth Amend-

ment affirmative liberty rights. 494 U.S. at 271. They have not done so; in fact,
they have confirmed that they have no such connections. See Dkt. 61-1; Dkt.

63-2. They thus stand at the start of the “ascending scale of rights” that indi-

viduals climb as they “increase[] [their] identity with our society.” Eisen-

trager, 339 U.S. at 770. At that level, the Constitution protects them against

“gross physical abuse” in this country. Castro, 742 F. 3d at 600. The Consti-

tution further confers some basic procedural guarantees related to their de-
portation proceedings. Kim, 538 U.S. at 523. But as Verdugo-Urquidez, Eisen-

trager, and Kim confirm, the Constitution does not accord them the affirma-

tive liberty right to an elective abortion.

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II. The Previous Order Granting a Temporary Restraining Order
    Should Be Disregarded Because It Failed to Cite the Well-Ac-
    cepted and Controlling “Substantial Connections” Test.
    The Court’s previous Order on Plaintiff Jane Doe’s application for a tem-

porary restraining order overlooked the bedrock principles articulated in Ei-
sentrager and Verdugo-Urquidez, even though those principles confirm that an

unlawfully-present alien with virtually no ties to this country has no right to

an elective abortion. The Court should disregard its previous Order as to Jane

Doe and apply the correct law as to Plaintiffs Roe and Poe.

    A. The Court Has a Duty to Apply the Correct Law.
    As Judge Henderson’s dissent correctly observed, 874 F.3d at 745-46, re-

gardless of what the parties have argued, this Court should decide the predi-

cate constitutional question this case presents before resolving Plaintiffs’ ap-

plication. See, e.g., U.S. Nat’l Bank of Or. v. Indep. Ins. Agents of Am., Inc., 508

U.S. 439, 447 (1993) (if a party “fail[s] to identify and brief” “an issue ‘ante-

cedent to . . . and ultimately dispositive of’ the dispute,” the Court may con-

sider the issue sua sponte (citation omitted)). After all, “even an explicit con-

cession on this point would not ‘“relieve this Court of the performance of the

judicial function”’ of deciding the issues.” Torres v. Puerto Rico, 442 U.S. 465,

471 n.3 (1979) (quoting Sibron v. New York, 392 U.S. 40, 59 (1968)). Moreover,

a government’s “concessions cannot be accepted” when they are contrary to
law. Massachusetts v. United States, 333 U.S. 611, 625 (1948).

    In short, regardless of what the parties have argued, the Court has a duty

apply the correct legal framework. See id.

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    B. The “Substantial Connections” Test Is Widely Cited and
       Applied As Controlling.
    1. Federal courts uniformly and routinely apply the controlling Verdugo-

Urquidez test when determining whether aliens can assert constitutional
rights. E.g., Meza-Rodriguez, 798 F.3d at 670; Ibrahim, 669 F.3d at 995; United

States v. Huitron-Guizar, 678 F.3d 1164, 1166 (10th Cir. 2012); Portillo-Munoz,

643 F.3d at 440; Vilches-Navarrete, 523 F.3d at 13; Atamirzayeva v. United

States, 524 F.3d 1320, 1325 (Fed. Cir. 2008); Nat’l Council of Resistance of Iran

v. Dep’t of State, 251 F.3d 192, 202 (D.C. Cir. 2001). As these citations demon-

strate, the arguments amici advance reflect basic principles that have gov-

erned the rights of aliens for decades.

    2. In conformance with the circuits’ widespread adherence to this estab-

lished Supreme Court precedent, the Department of Justice has relied on Ver-
dugo-Urquidez’s substantial-connections test dozens of times to argue that un-

lawfully-present aliens without sufficient ties to the country lack constitu-

tional rights.

    Just months ago, the Department argued in the Supreme Court that:

    [A]n alien arrested shortly after crossing the U.S. border surrepti-
    tiously cannot lay the same claim to constitutional protections as al-
    iens who were lawfully admitted or who entered illegally then be-
    came, “in a[] real sense, a part of our population[.]”

Brief for the Respondents in Opposition, Castro v. Dep’t of Homeland Sec., 137

S. Ct. 1581 (2017) (No. 16-812), 2017 WL 1046315, at *17.




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    That is not the only time this year that the Department made that argu-

ment in the Supreme Court. See, e.g., Brief for the United States, Hernandez

v. Mesa, 137 S. Ct. 2003 (2017) (No. 15-118), 2017 WL 104588 at *35 (arguing

that, under Verdugo-Urquidez, aliens are “afforded constitutional protections

only when ‘they ha[d] come within the territory of the United States and de-
veloped substantial connections with this country’”); Transcript of Oral Ar-

gument at 17, Jennings v. Rodriguez, No. 15-1204 (U.S. October 3, 2017) (Q:

“is your argument about the new admits, the people who are coming to the
border, premised on the idea that they simply have no constitutional rights at

all?” A: “It is premised on that.”).3

    The Department has made similar arguments in the Fifth Amendment

context in other courts. E.g., Reply in Support of Appellants’ Brief, Flores v.

Sessions, 862 F.3d 863 (9th Cir. 2017) (No. 17-55208), 2017 WL 1055525, at

*13 n.6 (“Aliens identified at the border who have not had any contact with

the United States—even if they are subsequently paroled into the territorial

United States during the resolution of their applications for admission—are

not entitled to any process other than that provided by statute.”); Brief for

Appellee, United States v. Kole, 164 F.3d 164 (3d Cir. 1998) (No. 96-5457),

1996 WL 33453512, at *24 (“the Constitution was ‘not intended to extend to

aliens in the same degree as to citizens’”); Brief for Respondent, Wigglesworth


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     The Department later modified its response to suggest that aliens might
have some rights (which is also consistent with amici’s position, as explained
above), but certainly not the full scope afforded citizens. Tr. at 17-18.

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v. I.N.S., 319 F.3d 951 (7th Cir. 2003) (No. 02-1209), 2002 WL 32170294, at

*19-*21 (“In order for the due process clause to apply, there must be an iden-

tifiable life, liberty or property interest. It is clear that any liberty interest [pe-

titioner] may have in this regard is so weak that she clearly has no right to a

hearing before an immigration judge . . . [petitioner] is not a permanent resi-
dent of the United States or even a temporary resident.”).

    And the Department has explicitly relied on the Eisentrager “ascending

scale” analysis to argue against expanded due process rights for unlawfully-
present aliens. E.g., Brief for Appellee United States, United States v. Raya-

Vaca, 771 F.3d 1195 (9th Cir. 2014) (No. 13-50129), 2013 WL 6221846, at *13–

15 (“[T]here has long been a sliding-scale approach to determining the rights

to be afforded to aliens by the Due Process Clause. Under that approach, al-

iens generally enjoy more rights as a function of their legality/longevity in this

country. On one end of the scale is the undocumented alien; in the middle is
the lawful permanent resident; and at the opposite end is the naturalized citi-

zen. As an alien moves from one end of the scale to the other, his rights in-

crease . . .”); Brief for Defendant-Appellee Robert S. Mueller, Arar v. Ashcroft,

532 F.3d 157 (2d Cir. 2008) (No. 06-4216-CV), 2007 WL 7285642 at *32-33

(similar); Brief for Cross-Appellees and Reply Brief for Appellants, Gutierrez

v. Ashcroft, 125 F. App’x. 406 (3d Cir. 2005) (Nos. 03-4798, 04-1031), 2004
WL 4184747, at *16, 20 (similar).




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    These authorities confirm that the analyses set out in Verdugo-Urquidez

and Eisentrager not only are axiomatic, but that they are routinely applied in

the exact situation this case presents.

                                   *      *    *

    As the Supreme Court has recognized, the States already “bear[] many of
the consequences of unlawful immigration.” Arizona, 567 U.S. at 397. Yet

Plaintiffs ask this Court to announce that anyone on Earth has any number of

constitutional rights simply by being apprehended while trying to cross the
United States border unlawfully. That holding would only further incentivize

even more unlawful immigration and further strain the budgets and resources

of governments throughout the Nation.




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                             Conclusion
    For the foregoing reasons, the Court should deny Plaintiffs’ application

for a temporary restraining order.

                                      Respectfully submitted.

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                     Certificate of Service
    I hereby certify that on December 17, 2017 the foregoing document was

served via electronic filing on all counsel of record in this case.


                                         /s/ Scott A. Keller
                                         Scott A. Keller
                                         Solicitor General




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